                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE

 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )      No.:   2:12-CR-122
                                                 )
 TARA S. GLOVER                                  )

                            MEMORANDUM AND ORDER

       This criminal case is before the court on the defendant’s pro se motion for

 sentence reduction [doc. 255], which has been rendered moot by a supplemental motion

 filed by counsel [doc. 302]. Through counsel, the defendant asks the court to reduce her

 sentence pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782

 and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”).               The

 government has responded [doc. 305], deferring to the court’s discretion whether and to

 what extent to grant any such reduction, subject to the limitations of 18 U.S.C. §

 3582(c)(2) and U.S.S.G. § 1B1.10.

 I.    Authority

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

 and quotation marks omitted).       One such exception is identified in 18 U.S.C. §

 3582(c)(2):




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        [I]n the case of a defendant who has been sentenced to a term of
        imprisonment based on a sentencing range that has subsequently been
        lowered by the Sentencing Commission . . . , the court may reduce the term
        of imprisonment, after considering the factors set forth in [18 U.S.C.]
        section 3553(a) to the extent that they are applicable, if such a reduction is
        consistent with applicable policy statements issued by the Sentencing
        Commission.

        In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the court must first identify “the amended guideline range that would have

 been applicable to the defendant had the relevant amendment been in effect at the time of

 the initial sentencing.” Dillon v. United States, 560 U.S. 817, 827 (2010) (internal

 quotation marks and citation omitted); see also U.S.S.G. § 1B1.10(b)(1) (2015).

 Amendment 782, which became effective on November 1, 2014, revised the guidelines

 applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

 and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C,

 amend. 782 (2014). Amendment 788, which also became effective on November 1,

 2014, identified Amendment 782 as retroactive. See id., amend. 788.

        Other than substituting Amendment 782 for the corresponding provision

 applicable when the defendant was originally sentenced, the court “shall leave all other

 guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2015).         The

 court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

 minimum of the amended guideline range,” nor to a term “less than the term of




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 imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

 addition, the commentary to guideline 1B1.10 provides that a court must also consider

 the § 3553(a) sentencing factors and the danger to the public created by any reduction in

 a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a defendant’s

 post-sentencing conduct. See id.

 II.    Factual Background

        By judgment dated June 4, 2013, this court sentenced the defendant to a 97-month

 term of imprisonment as to Count One (a methamphetamine conspiracy).                       The

 defendant’s guideline range was 135 to 168 months, based on a total offense level of 31

 and a criminal history category of III.

        Prior to sentencing, the United States filed a motion for downward departure

 pursuant to U.S.S.G. § 5K1.1. The court granted the motion and departed downward to

 97 months, a reduction of 28 percent from the bottom of the guideline range. According

 to the Bureau of Prisons, the defendant is presently scheduled for release on November

 20, 2019.

 III.   Analysis

        Applying Amendment 782, the defendant’s new guideline range is 108 to 135

 months, based on a total offense level of 29 and a criminal history category of III. Thus,




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           Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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 the defendant was originally sentenced to a term of imprisonment based on a sentencing

 range that has subsequently been lowered by the Sentencing Commission.

        The court has considered the filings in this case, along with the relevant 3553(a)

 factors. Additionally, the court has considered the danger to the public as the result of

 any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

 defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

 cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

 sentence reduction.

 IV.    Conclusion

        For the reasons stated herein, the defendant’s pro se motion for sentence reduction

 [doc. 255] is DENIED AS MOOT and the supplemental motion filed by counsel [doc.

 302] is GRANTED. The defendant’s term of imprisonment is reduced to 78 months.

 This sentence includes a corresponding 28 percent substantial assistance reduction from

 the bottom of the new guideline range.

        Except as provided above, all provisions of the judgment dated June 4, 2013, shall

 remain in effect.

               IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge


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